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  IT IS ORDERED as set forth below:



  Date: January 29, 2018
                                            _________________________________

                                                       C. Ray Mullins
                                                U.S. Bankruptcy Court Judge

 ________________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  IN RE:                                 CASE NO. 05-96359-CRM

  LINDSEY JONES,                         CHAPTER 13

              Debtor.


  LINDSEY JONES,                         ADVERSARY PROCEEDING NO.
                                         17-5231-CRM
              Plaintiff,

  v.

  CITIMORTGAGE, INC. et al.,

              Defendants.
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                                             ORDER

        THIS MATTER is before the Court on Defendants’ Motions for Summary Judgment.

Plaintiff filed a complaint alleging that Defendants violated the discharge injunction of section 524

of the Bankruptcy Code when they sent him correspondence after he received a chapter 7

discharge. This is a core proceeding under 28 U.S.C. § 157(b)(2)(I) and within this Court’s subject

matter jurisdiction.

   I.      Undisputed Facts

        The facts in this case are largely undisputed. The parties have been involved in litigation

for several years, and the Eleventh Circuit Court of Appeals has issued an order establishing certain

facts relating to the Defendants and the allegations in the complaint. See Jones v. CitiMortgage,

Inc., Case No. 15-14853 (11th Cir. Nov. 9, 2016) (the “11th Circuit Order”). The Court relies on

the undisputed facts set out in the 11th Circuit Order and the submissions in connection with this

Motion.

           a. The Loan

        On June 19, 2002, Plaintiff obtained a loan from FirstCity Mortgage, Inc., d/b/a Eagle

Mortgage Services, for $127,893 to purchase property at 1701 Charmeth Road, Lithonia, Georgia

(the “Property”). That same day, the note was signed over to CitiMortgage, Inc. (“Citi”). Plaintiff

executed a security deed in favor of Mortgage Electronic Systems, Inc. (MERS) as nominee for

FirstCity Mortgage. The security deed was subsequently assigned to Citi on April 26, 2010.

           b. Bankruptcy

        Plaintiff filed chapter 7 bankruptcy on September 26, 2005. Plaintiff did not reaffirm the

note and deed. The chapter 7 trustee entered a report of no distribution. Plaintiff’s case was

discharged on January 18, 2006, and the case was closed on January 27, 2006.



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        The discharge order provides:

        The discharge prohibits any attempt to collect from the debtor a debt that has been
        discharged. For example, a creditor is not permitted to contact a debtor by mail,
        phone, or otherwise, to file or continue a lawsuit, to attach wages or other property,
        or to take any other action to collect a discharged debt from the debtor. . . . A
        creditor who violates this order can be required to pay damages and attorney’s fees
        to the debtor.

        However, a creditor may have the right to enforce a valid lien, such as a mortgage
        or security interest, against the debtor’s property after the bankruptcy, if that lien
        was not avoided or eliminated in the bankruptcy case. Also, a debtor may
        voluntarily pay any debt that has been discharged.

Bankr. Doc. No. 5.

             c. Post-Bankruptcy

        It appears that, after his discharge, Plaintiff continued to make mortgage payments until

some point in 2010. Thereafter, Citi retained the law firm of McCurdy & Candler, LLC, to initiate

a non-judicial foreclosure action. McCurdy & Candler sent Plaintiff letters in June 2010 indicating

that the loan was in default, that a foreclosure sale would occur on August 3, 2010, and that title

to the Property would likely be transferred to the Secretary of Housing and Urban Development

(“HUD”) after foreclosure. One letter claimed that Plaintiff owed around $130,000.00, but it also

noted that he was not personally liable if he had received a bankruptcy discharge.

        On August 3, 2010, Citi foreclosed the mortgage on the Property.1 “It is undisputed that

the discharge did not affect Citi’s rights to exercise the power of sale in the security deed.” 11th

Circuit Order at *5 n.3 (citing Bank of Am. v. Cuneo, 770 S.E.2d 48, 53 (Ga. App. 2015)

(“Although [the debtor] may have been discharged from any in personam liability with respect to

the judgment of indebtedness, such discharge did not cancel the title to the real estate held by [the



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  It appears that the Property was sold at the foreclosure sale on August 3, 2010. However, the foreclosure sale was
later rescinded on October 28, 2014.


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bank] under its deed to secure debt, nor did such bankruptcy affect its power of sale contained

therein.”)).

        After the foreclosure, Plaintiff moved most of his belongings to a warehouse and waited

for a demand of the Property, but it never came. Instead, in December 2010, he received another

notice from McCurdy & Candler stating that the mortgage for the Property was about to be

foreclosed. Plaintiff challenged the August 2010 foreclosure in the Superior Court of Fulton

County. The Defendants removed the complaint to federal district court, which dismissed with

prejudice the federal claims and remanded the remainder of the lawsuit to the Superior Court of

Fulton County.

        In June 2012, Judge Markle granted summary judgment to the Defendants on all claims

raised in the Fulton County state-court lawsuit. Judge Markle concluded that it was “clear that

Defendants had the ability to foreclose,” because Citi had obtained the note in June 2002 and the

security deed in April 2010. Plaintiff unsuccessfully appealed the decision to the Georgia Court

of Appeals and the Supreme Court of Georgia.

        In August 2014, nearly four years after the first foreclosure, Plaintiff received a notice-of-

foreclosure letter from the Phelan firm on behalf of Citi. The letter indicated that the mortgage for

the Property was about to be foreclosed, that title to the Property would be transferred to the

mortgage lender within 60 to 90 days, and that, shortly thereafter, title would likely be transferred

to HUD. Additional letters from the Phelan firm stated that the debt on the loan connected with

the Property was around $175,000.00 and that a foreclosure sale was scheduled for April 7, 2015.

               d. District Court Action

        Plaintiff filed a complaint in federal district court on April 6, 2015 in which he sought to

prevent the second foreclosure, Jones v. CitiMortgage, Inc., civil action number 1:15-CV-1002-



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WBH (N.D. Ga.). The complaint included various allegations that Plaintiff’s statutory and

constitutional rights were violated. Count Five alleged that Citi and the Phelan firm violated the

discharge injunction of 11 U.S.C. § 542(a)(2). More specifically, Plaintiff alleged that Citi and

the Phelan firm violated the discharge injunction by attempting to hold him personally liable for

the mortgage debt. According to Plaintiff, the Defendants communicated to both him and others,

including credit-reporting agencies and the Internal Revenue Service, that he was personally liable

for the mortgage debt despite his bankruptcy discharge in 2006.

       The Defendants moved to dismiss the complaint, and the district court dismissed the

complaint on September 24, 2015. The court found that Citi and the Phelan firm did not violate

the discharge injunction because the letters sent to Plaintiff disclaimed that he was personally liable

if he had received a bankruptcy discharge. The district court also declined to enjoin the second

foreclosure. Plaintiff appealed.

           e. 11th Circuit Order

       The Eleventh Circuit upheld the dismissal of all of Plaintiff’s claims except for the claim

that Citi and the Phelan firm violated the discharge injunction. The Eleventh Circuit Court of

Appeals noted that the “letters arguably could be read to assert Plaintiff was personally liable for

the debt, but they also noted he was not personally liable if the debt had been discharged in

bankruptcy.” 11th Circuit Order at *7-8. Nevertheless, the Eleventh Circuit panel found that the

district court should not have reached the merits of Plaintiff’s discharge injunction claim and that

the issue was one for the Bankruptcy Court.

       The court explained, “A debtor who believes that the discharge injunction has been violated

may file a contempt action with the bankruptcy court that issued the discharge injunction, not with

another court.” Id. at *15-16 (citing Alderwoods Grp., Inc. v. Garcia, 682 F.3d 958, 970-71 (11th



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Cir. 2012)). The court that issued the discharge injunction is “the court that ‘alone possesse[s] the

power to enforce compliance with’ the discharge injunction,” and other courts lack jurisdiction to

do so. Id. at *16 (citing Green Point Credit, LLC v. McLean (In re McLean), 794 F.3d 1313, 1319

(11th Cir. 2015); Alderwoods Grp., Inc., 682 F.3d at 971). The Eleventh Circuit explained that

because this Court issued Plaintiff’s discharge, this Court alone possesses the power to enforce

compliance with the discharge injunction and “punish contempt of that order.” Id. Therefore, if

Citi or the Phelan firm violated the discharge injunction, it is this Court – not the district court –

that has the power to sanction them for attempting to pressure Plaintiff to pay the discharged debt

personally. See In re McLean, 794 F.3d at 1320, 1323-24 (discussing sanctions). The court

determined that the district court should not have reached the merits of Count Five.

       The Eleventh Circuit vacated the dismissal of Count Five and remanded the case to the

district court with instructions to refer the matter to this Court. The Eleventh Circuit remanded

the case to the district court to refer to this Court the issue of whether defendants violated the

discharge injunction. The district court entered an order referring the matter to this Court, but the

Court has no record of receiving the referral.

           f. Adversary Proceeding

       Undoubtedly frustrated, Plaintiff filed a complaint initiating this adversary proceeding on

August 30, 2017. He filed an amended complaint on September 7, 2017. He alleged that he was

continually contacted by Citi and the Phelan firm with statements, payoff requests, notifications,

1099s, corrected 1099s, billings, escrow statements, numerous foreclosure notice letters, and other

documents, and that these communications violate the discharge injunction. He sought damages

and punitive damages for violations of the discharge injunction, as well as injunctive relief.




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        Plaintiff filed a motion for a temporary restraining order and injunction on September 5,

2017, asking the Court to enjoin a foreclosure sale scheduled the same day. The Court found that

Plaintiff failed to clearly establish that a temporary restraining order and injunction are warranted

and denied the motion. The Court noted that a chapter 7 discharge relieves a debtor of personal

liability on most debts, but it does not affect a secured creditor’s security interest in real property;

accordingly, a secured creditor may still foreclose after the debtor receives a chapter 7 discharge.

        Defendant Citi filed a motion to dismiss on September 28, 2017. Plaintiff filed an untimely

response on October 17, 2017. The Phelan firm answered the complaint on October 10, 2017 and

moved to dismiss the complaint. The Court held a status hearing on October 24, 2017. Plaintiff,

counsel for Citi, and counsel for the Phelan firm were present. The Court noted that the only issue

properly before it was the issue that the Eleventh Circuit had directed the Court to consider:

whether Defendants violated the discharge injunction. The Court stated that it was inclined to treat

the motions to dismiss as motions for summary judgment under Federal Rule of Civil Procedure

56(a).2 The Court noted that it would give the parties a reasonable opportunity to present all

material pertinent to the motions.

        Defendant the Phelan firm filed a motion for summary judgment on November 14, 2017.

Plaintiff had until December 5, 2017 to respond. He failed to file a response; consequently, the

Motion is deemed unopposed pursuant to Local Rule 7007-1(c). Defendant Citi filed a motion for

summary judgment on November 21, 2017. Plaintiff responded on December 12, 2017. Citi

replied. The Court now must consider whether summary judgment is appropriate.




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 Per Rule 12(d), when a party moving under Rule 12(b)(6) presents matters outside the pleadings and the court does
not exclude the materials, the court must treat the Rule 12(b)(6) motion as a motion for summary judgment under Rule
56.

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   II.      Summary Judgment

         Summary judgment is appropriate when “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Fed. R. Civ. P. 56(c); Fed. R. Bankr.

P. 7056(c). “The substantive law [applicable to the case] will identify which facts are material.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The party moving for summary

judgment has the burden of proving there are no disputes as to any material facts. Hairston v.

Gainesville Sun Pub. Co., 9 F.3d 913, 918 (11th Cir. 1993). A factual dispute is genuine “if the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson,

477 U.S. at 248.

         Once this burden is met, the nonmoving party cannot merely rely on allegations or denials

in its own pleadings. Fed. R. Civ. P. 56(e). Rather, the nonmoving party must present specific

facts that demonstrate there is a genuine dispute over material facts. Hairston, 9 F.3d at 918.

When reviewing a motion for summary judgment, a court must examine the evidence in the light

most favorable to the non-moving party and all reasonable doubts and inferences should be

resolved in favor of the non-moving party. Id.

         “We liberally construe the filings of pro se litigants. Campbell v. Air Jamaica Ltd., 760

F.3d 1165, 1168 (11th Cir. 2014). Despite this leniency, courts may not serve as de facto counsel

or rewrite deficient pleadings in order to sustain an action. Id. at 1168-69.” Id. at *10.




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    III.       Analysis

               a. Chapter 7 Discharge and the Discharge Injunction

           In a chapter 7 case, unless a party in interest timely objects, “the court shall grant the debtor

a discharge.” 11 U.S.C. § 727(a). Generally speaking, “a discharge under [§ 727(a)] discharges

the debtor from all debts that arose before the date of the order for relief under [chapter 7].” 11

U.S.C. § 727(b).          The discharge “operates as an injunction against the commencement or

continuation of an action, the employment of process, or an act, to collect, recover or offset [a

discharged debt] as a personal liability of the debtor . . .” 11 U.S.C. § 524(a)(2). The purpose of

the discharge injunction is to afford “honest but unfortunate debtors with a ‘fresh start’ from the

burdens of personal liability for unsecured prepetition debts and thus advances the overarching

purpose of the Bankruptcy Code.” Canning v. Beneficial of Maine, Inc. (In re Canning), 706 F.3d

64, 69 (1st Cir. 2013).

           However, a chapter 7 “discharge extinguishes only ‘the personal liability of the debtor’ . .

. . [and] the Code provides that a creditor’s right to foreclose on a mortgage survives or passes

through the bankruptcy.” Johnson v. Home State Bank, 501 U.S. 78, 83 (1991) (emphasis in

original); see also Farrey v. Sanderfoot, 500 U.S. 291, 297 (1991) (“[o]rdinarily, liens and other

secured interests survive bankruptcy”). While the discharge provides the release of debtors from

certain obligations to creditors, it does not affect a secured creditor’s interest in real property. See

In re Rivera, 256 B.R. 828, 832 (Bankr. M.D. Fla. 2000). “Thus, from a legal standpoint, the debt

remains technically in existence, and may be enforced against the collateral by those creditors with

security interests unaffected by bankruptcy.” In re Zine, 521 B.R. 31, 39 (Bankr. D. Mass. 2014).

           When a debtor receives a discharge in bankruptcy, the discharge operates as an injunction

against the commencement or continuation of any act to collect, recover, or offset any such debt



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as a personal liability of the debtor. 11 U.S.C. § 524(a)(2) (emphasis added). Section 524(a)(2)

has been interpreted expansively, and the Eleventh Circuit has held that it prohibits any action that

has the effect of pressuring a debtor to repay a discharged debt, even if the means are indirect.

Green Point Credit, LLC v. McLean (In re McLean), 794 F.3d 1313, 1320 (11th Cir. 2015).

           b. Bankruptcy Courts May Exercise Their Contempt Powers Under Section 105
              to Enforce the Provisions of the Discharge Injunction

       Section 524 provides a broad injunctive power that effectively bars creditors from

collecting debts as personal liabilities from debtors who have received a bankruptcy discharge.

The section does not include an explicit enforcement mechanism; the section is silent with respect

to a private right of action for debtors injured by a creditor’s violation of the discharge injunction.

See In re Meyers, 344 B.R. 61, 64 (Bankr. E.D. Pa. 2006). Nevertheless, it is widely accepted

that bankruptcy courts may use their statutory contempt power under section 105 to provide a

remedy for willful violations of the discharge injunction. In re Wallace, No. 09-bk-594-PMG,

2011 Bankr. LEXIS 1168, at *11 (Bankr. M.D. Fla. Apr. 5, 2011) (citing In re Wynne, 422 B.R.

763, 768 (Bankr. M.D. Fla. 2010)). “In other words, even though § 524 does not expressly

authorize a ‘private right of action’ for violations of the discharge injunction, courts may exercise

their contempt power under § 105 to enforce the provisions of § 524.” Id. (citing In re Wynne, 422

B.R. at 768; see also In re Singleton, 269 B.R. 270, 275 (Bankr. D.R.I. 2001) (“it is now clear

that 11 U.S.C. § 105(a) authorizes the Bankruptcy Court to utilize its equitable powers to enforce

the § 524(a) discharge injunction.”)).

       The Eleventh Circuit has held that “the test for whether a creditor violates the discharge

injunction is whether the objective effect of the creditor’s action is to pressure a debtor to pay a

discharged debt . . . .” Roth v. Nationstar Mortg. LLC (In re Roth), 568 B.R. 139, 145 (M.D. Fla.

2017) (citing In re McLean, 794 F.3d at 1322)). To establish a violation of § 524, a debtor must

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prove that the plaintiff willfully violated the discharge injunction. The Eleventh Circuit has held

that a creditor willfully violates the discharge injunction if: (1) the creditor knew that the discharge

injunction was invoked; and (2) the creditor intended the actions which violated the injunction.

Jove Eng’g, Inc. v. I.R.S., 92 F.3d 1539, 1555 (11th Cir. 1996)). The Eleventh Circuit has also

determined that “[a] finding of civil contempt must be based on ‘clear and convincing evidence’

that a court order was violated.” Jove, 92 F.3d at 1545.

       A bankruptcy court exercises considerable control and broad equitable powers to

enforce discharge injunctions and determine whether sanctions are appropriate. Roth, 568 B.R. at

145 (citing In re Hardy, 97 F.3d at 1389). If there are no disputed factual matters in the record,

no hearing is required. Roth, 568 B.R. at 145 (citing In re McLean, 794 F.3d at 1324, n.4; Mercer

v. Mitchell, 908 F.2d 763, 769 n.11 (11th Cir. 1990)).

           c. Section 524 Prohibits Certain Behaviors Tantamount to Debt Collection
              Practices, But It Does Not Bar a Creditor From Contacting a Debtor

       Section 524 prohibits behaviors such as calling and sending letters to a debtor that are

tantamount to debt collection practices. But, section 524 does not bar a creditor from contacting

a debtor who received a discharge in bankruptcy. In some circumstances, communication between

a creditor and a debtor may be appropriate regarding a discharged loan. For example, a debtor

discharged from a loan obligation may need to know the amount due, and communication might

be appropriate to “facilitate the making of monthly post petition payments by the debtor.” Mele v.

Bank of Am. Home Loans (In re Mele), 486 B.R. 546, 556 (Bankr. N.D. Ga. 2013) (citing In re

Henry, 266 B.R. 457, 473 (Bankr. C.D. Cal. 2001)); see also Wallace, 2011 Bankr. LEXIS 1168,

at *15-16 (explaining that there may be circumstances where a debtor who has been discharged

from a loan obligation needs to know the amounts due).




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       Whether a communication violates the discharge injunction is a fact-intensive inquiry

because not every communication from a creditor following the conclusion of a chapter 7 case

violates the discharge injunction. Roth, 2016 Bankr. LEXIS 3381, at *10-11. Communication of

information regarding a residential mortgage debt is not an “act to collect” a debt if there is a valid

purpose in communicating the information and if the communication itself is informational only.

See Thomas v. Seterus Inc. (In re Thomas), 554 B.R. 512, 520 (Bankr. M.D. Ala. 2016) (citing

Connor v. Countrywide Bank, N.A. (In re Connor), 366 B.R. 133, 137-38 (Bankr. D. Haw. 2007)).

A debtor’s mere indication of his or her intent to surrender the property, without more, does not

invalidate a mortgagee’s purpose in providing information. Some post discharge communication

is necessary and should be encouraged, especially in a case in which a debtor has indicated she

intends to keep her home. Mele, 486 B.R. at 556; see also In re Schatz, 452 B.R. 544, 549-50

(Bankr. M.D. Pa 2011) (explaining that secured creditors should be encouraged to send

informational statements to a discharged debtor who intends to keep the secured property).

       Even if a communication has a valid informational purpose, it must be limited to that

purpose to avoid violating discharge injunction. See Thomas, 554 B.R. at 520 (explaining that

communications must be limited so as not to violate the automatic stay). This generally requires

that the communication have at least one prominent and unambiguous disclaimer to that effect,

and a lengthy communication should have multiple disclaimers. Moreover, the body of the

communication should be limited to providing information; it should not overtly demand payment,

and it should not have the overall effect of inviting or coercing payment. Id.

       Statements that include prominent disclaimers are often found to be informational. For

example, in Roth, 2016 Bankr. LEXIS 3381, at *10-11, the creditor sent the debtor informational

statements that included extensive disclaimer language.         The disclaimer was not buried in



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boilerplate language; rather, the disclaimer was prominently displayed in bold on the first page

and extensively described the purpose for the communication. The statement provided:

       This statement is sent for informational purposes only and is not intended as an
       attempt to collect, assess, or recover a discharged debt from you. . . . . If this account
       is active or has been discharged in a bankruptcy proceeding, be advised this
       communication is for informational purposes only and is not an attempt to collect
       upon a debt.

The disclaimer clearly stated that the statement was for informational purposes only.

       The informational statement in Roth also included a “Voluntary Payment Coupon,” which

indicated that the debtor could voluntarily make a payment but that she was not required to do so.

The court noted that section 524(f) specifically contemplates a debtor’s ability to make voluntary

payments on a discharged debt, and this is to enable a debtor who wishes to retain property

otherwise subject to foreclosure after entry of the discharge to cure arrearages and reinstate the

mortgage or payments. Because the creditor had not completed a foreclosure of the property when

it sent the informational statement to the discharged debtor, the debtor could, under section 524(f),

elect to voluntarily pay the creditor thereby reinstating mortgage payments and retaining the

property. Although the debtor stated her intent to surrender the property in her chapter 13

bankruptcy, she still retained certain rights as the owner of the property until the creditor exercised

its in rem foreclosure rights against the property. Debtor’s circumstances might have changed and

she might wish to retain ownership of the property. The court found that the statement not only

included clear disclaimer language, but it also did not demand payment and did not request that

payment be made.

       Similarly, in Thomas v. Seterus Inc. (In re Thomas), 554 B.R. 512, 520-21 (Bankr. M.D.

Ala. 2016), the bankruptcy court explained that the creditor communicated the existence of the

debt to the debtors was not by itself an act to collect the debt where the statements included



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disclaimers and did not overtly demand payment. In Thomas, the creditor sent the debtor several

statements that provided an itemization of the original principal balance, unpaid principal balance,

the escrow balance, and the interest rate. The communications included a section on the first page

titled “Explanation of Amount Due.” The court found that the language merely provided an

itemization of what the monthly payment consisted of (i.e., the amounts of principal, interest, and

escrow) if the debtors decided to pay it, and there was no other language on the first page

demanding payment. The second page of the document included a payment stub, but stated in

bold capital letters at the top of the page that it was provided for informational purposes only. The

court concluded that, in light of the prominent and unambiguous disclaimer language, a reasonable

consumer bankrupt would not construe the communication as a demand for payment.

       Other courts have noted that when a communication contains a disclaimer, but otherwise

seems to demand payment from a discharged debtor, the language may mitigate damages. For

example, In re Wallace, No. 09-bk-594-PMG, 2011 Bankr. LEXIS 1168, at *15 (Bankr. M.D. Fla.

Apr. 5, 2011), the bankruptcy court noted that the “solely for informational purposes” statement

included on notices sent to the debtor might prevent or mitigate an award of sanctions.

       This Court has previously found that sending a debtor mortgage account statements does

not violate the discharge injunction when the debtor has retained possession of the property after

discharge and such statements provide helpful information. See In re Mele, 486 B.R. 546 (Bankr.

N.D. Ga. 2013). Such statements often state that they are for “informational purposes” and provide

information about the principal balance, account number, payment amount, due date, and payment

instructions. In Mele, the Court explained that “this type of statement is meant to educate a former

debtor regarding her loan payments because the amount may have changed and because Plaintiff

had declared her intention to keep her home.” Id. at 557. In the case before it, the Mele court



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concluded that the account statements sent to the debtor post discharge provided information to

facilitate the retention of her home and they were not attempts to collect a debt from the debtor

personally. Other courts have found, though, that mortgage statements that do not include clear

disclaimers may constitute attempts to collect a discharged debt. For example, in In re Brown,

481 B.R. 351 (Bankr. W.D. Pa. 2012), the court concluded that several mortgage statements

including the amount of payment, a due date, a late charge if not received by a certain date, a past

due amount, and no disclaimer constituted attempts to collect a discharged debt.

       Similarly, communications regarding escrow accounts do not violate the discharge

injunction when they include disclaimers and indicate that the statements are being sent for

informational purposes only. See e.g., Navarro v. Banco Popular de P.R. (In re Navarro), 563

B.R. 127, 134 (Bankr. D.P.R. 2017) (concluding that two escrow statements sent to the debtor

included information required by law and disclaimers, in bold letters, that the statements were for

informational purposes only did not violate the discharge injunction).         Conversely, escrow

statements lacking clear disclaimer language may be improperly coercive and violate the discharge

injunction. See In re Todt, 567 B.R. 667, 679 (Bankr. D.N.H. 2017) (finding that communications

that reflected no recognition of a bankruptcy discharge expressly and implicitly reflected an

attempt to collect discharged obligations from the debtors).

       This Court has also found that annual disclosure notices can be sent to discharged debtors

without violating the discharge injunction. In Mele, the Court noted that, even though annual

disclosure notices may include payoff information, they often do not state an amount owed and do

not make a demand for payment. See Mele, 486 B.R. at 557. As such, they do not violate the

discharge injunction.




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       Likewise, responses to inquiries from a debtor that do not make any demand for payment

and where the overall tenor is informational do not violate the discharge injunction. Mele, 486

B.R. at 557. In Mele, the court considered five items of correspondence that stated that they were

sent in response to inquiries from the debtor, a fact that the debtor did not dispute. The Court

found that each of the documents was responsive to inquiries from the debtor, did not contain any

amounts owed or demands for payment, and did not seek to collect a debt personally from the

debtor. Accordingly, they did not violate the discharge injunction.

       Courts are careful to note, though, that even though a single communication may not be

problematic, if calls and letters are sent relentlessly the cumulative effect is likely to amount to

collection of a debt in violation of section 524. See In re Wallace, 2011 Bankr. LEXIS 1168. In

Mele, 486 B.R. 546, the court noted that none of the fifteen documents sent to the discharged

debtor, on an individual basis, sought to collect a debt personally. However, the collective effect

of the fifteen items had to be considered as well. The fifteen documents sent to the debtor were

sent over an eighteen month period. During that period, the creditor did not make any telephone

calls to the debtor. Two-thirds of the documents sent to the debtor merely provide information

and to respond to the debtor’s request for information, others sought to facilitate retention of the

debtor’s home and payoff if made, and others provided information relating to the creditor’s in

rem rights. The Court found that the entire correspondence from the creditor to the debtor did not

constitute an attempt to collect a debt personally from the debtor. While the Court noted that

receiving correspondence from the creditor may have been distressing to the debtor, the creditor

did not violate section 524.




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    IV.      Application

          Defendants do not dispute that they had knowledge of the Plaintiff’s discharge and that

they intended to send Plaintiff various communications. The issue is whether the specific

communications sent to Plaintiff constitute an attempt to collect a debt as a personal liability of

Plaintiff. Plaintiff’s complaint refers to several communications from Citi and its foreclosure

counsel that allegedly violate the discharge injunction; the parties have submitted several

additional items of correspondence. The Court will consider each of these in turn.

          Exhibit B3 is a letter from the Phelan firm dated February 18, 2015. It states that the loan

was referred to the law firm. The communication was provided for informational purposes as Citi

prepared to exercise its in rem rights in the Property The letter does state the amount of the debt

as of the date of the letter, but the last paragraph of the letter includes a disclaimer stating: “If you

were previously in bankruptcy and received a Chapter 7 discharge, this correspondence is not and

should not be construed as an attempt to collect a debt. The action we have been requested to take

would be limited to any ultimate foreclosure of the above referenced property.” The letter does

not demand any type of payment from Plaintiff and includes an explicit disclaimer. The Court

finds that it does not violate the discharge injunction.

          Exhibit C is a two-page letter from Citi dated February 21, 2017, that provides Plaintiff

details about Citi’s hardship treatment program. The notices section on page two of the document

concludes, in capital, bold type:

          TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS
          SUBJECT TO AN AUTOMATIC STAY OF A BANKRUPTCY ORDER
          UNDER TITLE 11 OF THE UNITED STATES CODE, THIS NOTICE IS
          FOR COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND
          DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN
          ATTEMPT TO COLLECT ANY SUCH OBLIGATION.

3
  For ease of reference, the exhibits to which the Court refers are those attached to Defendant Citi’s motion for
summary judgment.

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This is a prominent unambiguous disclaimer. Moreover, the body of the communication is limited

to providing information. It does not state an amount due, and it does not demand payment in any

way. Given that the communication is informational and includes a clear disclaimer, the Court

finds that it does not constitute an attempt to collect a debt from Plaintiff personally.

       Exhibit D is a two-page letter from the Phelan firm dated May 31, 2017. It states that Citi

decided not to continue the foreclosure process. The letter does not include an amount due. The

second page of the document includes a prominent disclaimer stating in bold, capital letters that

the correspondence was provided for informational purposes only. The disclaimer reads:

       TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS
       SUBJECT TO AN AUTOMATIC STAY OF A BANKRUPTCY ORDER
       UNDER TITLE 11 OF THE UNITED STATES CODE, THIS NOTICE IS
       FOR COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND
       DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN
       ATTEMPT TO COLLECT ANY SUCH OBLIGATION.

In light of this prominent and unambiguous disclaimer language, the Court finds that a reasonable

consumer bankrupt would not construe the communication as a demand for payment.

       Exhibit E is a two-page letter from Anthony DeMarlo, an attorney with the firm of

McCurdy and Candler, LLC, dated June 21, 2010. The letter informs Plaintiff that the firm has

been retained to collect the debt. The letter includes a payoff amount: “As of the date of this letter,

you owe $130,220.86.” The letter does not overtly demand and coerce payment, though, and the

second page of the communication includes a clear disclaimer. It states: “If you have received a

discharge in Bankruptcy proceeding, this notice is not intended to indicate that you are personally

liable for this debt. In this instance the information concerning the associated debt owed is for

informational purposes only and should be disregarded for any purposes other than that of

conducting a nonjudicial foreclosure of the security pursuant to Georgia law.” This disclaimer



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unambiguously states that the communication was provided for informational purposes only and

that the sender was not attempting to collect the debt personally from a discharged debtor. It

appears that the sender was attempting to comply with all necessary requirements to keep Plaintiff

informed until in rem rights were exercised. Therefore, the Court finds that the communication

does not violate the discharge injunction.

       Exhibit F is a letter from the Phelan firm dated August 13, 2014. The document includes

helpful information about what Plaintiff should do in the event that Citi exercised its in rem rights.

It states that the mortgage is about to be foreclosed upon and provides notice to Plaintiff that he

should contact HUD if ownership is transferred after the foreclosure sale in the event that Plaintiff

wishes to continue living in the Property. The document does not refer to an amount due and does

not otherwise request payment from Plaintiff.          It also includes a couple prominent and

unambiguous disclaimers. At the top of the letter, there is a bold and capitalized notice stating:

       IF YOU HAVE PREVIOUSLY RECEIVED A DISCHARGE IN BANKRUPTCY
       AND THE DEBT WAS NOT REAFFIRMED, THE CORRESPONDENCE IS
       NOT AND SHOULD NOT BE CONSTRUED TO BE AN ATTEMPT TO
       COLLECT A DEBT, BUT ONLY ENFORCEMENT OF A LIEN AGAINST THE
       PROPERTY.

The same notice is included as the last paragraph, again in bold, capitalized letters, at the bottom

of page two. This language clearly explains that the firm was not seeking to collect a debt from

Plaintiff personally. The Court finds that there was a valid purpose in communicating the

information to the Plaintiff and the communication was informational only.             As such, the

communication does not violate the discharge injunction.

       Exhibit G is a letter from the Phelan firm dated March 4, 2015. The letter provides notice

of a scheduled foreclosure sale. The letter does not include an amount due and it does not demand

payment from the Plaintiff; rather, it provides information about the creditor’s efforts to exercise



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its in rem rights as to the Property. The letter also concludes with a disclaimer that states: “If you

have received a discharge in bankruptcy, this Notice is not intended to assert or restore personal

liability on your part.    In this instance the information concerning the debt owed is for

informational purposes only and should be disregarded for any purpose other than conducting a

non-judicial foreclosure of the security pursuant to Georgia law.” In light of the information

provided in the letter and the disclaimer language, the Court concludes that a reasonable consumer

bankrupt would not construe the communication as a demand for payment.

        Exhibit H1 is a one-page letter from Citi dated December 29, 2015, that provides

information about common fees incurred during the servicing of a mortgage loan. The letter does

not reference a debt and does not state an amount owed. It does not demand that Plaintiff pay any

fees, and it provides helpful contact information should he have any questions. It also includes

unambiguous disclaimer language. At the bottom of the page appears the following disclaimer:

        TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, OR IS
        SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER
        TITLE 11 OF THE UNITED STATES CODE, THIS NOTICE IS FOR
        COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND DOES NOT
        CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO
        COLLECT ANY SUCH OBLIGATION.

The disclaimer is prominently displayed in capital letters, and it extensively describes the purpose

for the communication. The Court finds that a reasonable consumer debtor would not construe the

communication as a demand for payment. Accordingly, the communication does not violate the

discharge injunction.

        Exhibit H2 is a letter from Citi from June 16, 2016, in which it provides Plaintiff with

information about the Servicemembers Civil Relief Act. The letter does not reference a debt and

does not state an amount owed. The last paragraph on page two includes a disclaimer, in capital

letters, stating:

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       TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS
       SUBJECT TO AN AUTOMATIC STAY OF A BANKRUPTCY ORDER UNDER
       TITLE 11 OF THE UNITED STATES CODE, THIS NOTICE IS FOR
       COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND DOES NOT
       CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO
       COLLECT ANY SUCH OBLIGATION.

This disclaimer is easy to find and quite clear that the communication was provided for

informational purposes only. The communication is entirely information and nothing in it

demands, or even hints at requesting, payment from Plaintiff personally. The Court concludes that

a reasonable consumer debtor would not construe the communication as a demand for payment

and, therefore, it does not violate the discharge injunction.

       Exhibit H3 is a letter from the Phelan firm dated May 9, 2017. The communication was

sent as the Phelan firm prepared for the 2017 foreclosure sale. The letter states the amount of debt

due as of the date of the letter. It goes on to explain, though, that if Plaintiff received a chapter 7

discharge, the correspondence should not be construed as an attempt to collect a debt. The last

paragraph says: “If you were previously in bankruptcy and received a Chapter 7 discharge, this

correspondence is not and should not be construed as an attempt to collect a debt. The action we

have been requested to take would be limited to any ultimate foreclosure of the above referenced

property. . . .” The statement not only includes clear disclaimer language, but it also does not

demand payment and did not request that payment be made. Further, because a foreclosure of the

Property had not yet been completed when the informational statement was sent to Plaintiff,

Plaintiff could have elected to voluntarily pay to reinstate the mortgage and retain and the Property.

The Court finds that the overall tone of the communication is informational and the letter does not

violate the discharge injunction.

       Exhibit H4 is a letter from Citi from August 22, 2017, responding to a request from

Plaintiff. The letter states, “Thank you for your recent inquiry regarding the servicing fees and

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expense activity on your mortgage account. We have enclosed a detailed history of these

transactions for your review.” This communication was sent in response to Plaintiff’s request, a

fact that the Plaintiff does not dispute. The letter and related summary of fees and expenses do not

seek to collect a debt personally from the Plaintiff; rather, they provide information, requested by

Plaintiff, to educate him about loan payments and related charges. Accordingly, the Court finds

that the communication does not violate the discharge injunction.

       Exhibit H5 is an escrow analysis statement from Citi dated May 18, 2015. The statement

says, “Thank you for being a valued client of [Citi]! Enclosed is your Escrow Analysis Statement,

which has detailed information regarding your escrow account. In an effort to provide you with a

simple overview of the enclosed statement, below is a summary of the key information. . . .” The

communication was provided to Plaintiff for informational purposes and includes an itemization

of the escrow balance. This information would be helpful if Plaintiff intended to keep the secured

property. The document also includes an Escrow Shortage/Advance Coupon for Plaintiff to detach

and return along with payment. Unlike the statement sent to the debtor in Thomas, though, the

statement does not include prominent and unambiguous disclaimer language. The Court thus finds

that a reasonable consumer bankrupt could construe the communication as a demand for payment.

       Exhibit H6 is another escrow analysis statement provided by Citi on October 19, 2016.

The statement provides Plaintiff with detailed information regarding his escrow account. It also

includes an Escrow Shortage/Advance Coupon for Plaintiff to return along with payment. There

is no disclaimer language and no reference to bankruptcy at all. As with H5, the Court finds that

a reasonable consumer bankrupt could construe this communication as a demand for payment.

       Exhibit I is a letter from Anthony DeMarlo, dated June 21, 2010. It provides notice of a

scheduled foreclosure sale. The letter does not include an amount due and does not request



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payment in any form. The communication also states: “If you have received a discharge in

Bankruptcy proceeding, this notice is not intended to indicate that you are personally liable for this

debt. In this instance the information concerning the associated debt owed is for informational

purposes only and should be disregarded for any purposes other than that of conducting a non-

judicial foreclosure of the security pursuant to Georgia law.”         In sum, the letter provides

information as Citi prepared to exercise its in rem rights in the Property and includes a clear

disclaimer; it does not seek to collect a debt from Plaintiff personally and does not violate the

discharge injunction.

       Exhibit J is another letter from Anthony DeMarlo, dated December 1, 2010. It states that

the mortgage is about to be foreclosed upon and provides notice to Plaintiff that he should contact

HUD if ownership is transferred to it after the foreclosure sale in the event that Plaintiff wishes to

continue living in the Property. The letter does not include any amount due and owing and does

not request payment in any form. The Court finds that there was a valid purpose in communicating

the information to the Plaintiff and that the communication was informational only; therefore, it

does not violate the discharge injunction.

       Exhibit K is a short, half-page letter from Citi dated August 16, 2017. The letter was sent

in response to communications from Plaintiff and states that his letter will be reviewed and

processed. It does not include any amount due and owing, let alone any details about the loan, and

it does not request payment in any form. The letter is responsive to Plaintiff’s requests and does

not seek to collect a debt personally from him; as such, it does not violate the discharge injunction.

       Exhibit L is a letter from Citi on August 22, 2017. The letter was sent in response to a

request from Plaintiff for information. Plaintiff does not dispute that he requested the information

included in the communication. The letter includes information about the loan with Citi, including



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details about servicing fees and expense activity such as escrow advances, inspection fees, and

foreclosure costs. This information would be helpful if Plaintiff intended to keep the secured

property as it would facilitate the making of monthly post-petition payments by Plaintiff. As other

courts have noted, secured creditors should be encouraged to send informational statements to

discharged debtors in such circumstances, particularly when the discharged debtor requests such

information. Moreover, the communication does not request that Plaintiff pay any of these figures;

it does not even include an amount due and owing. The Court finds that the letter is responsive to

Plaintiff’s requests and does not seek to collect a debt personally from him; accordingly, it does

not violate the discharge injunction.

        Exhibit M is a Mortgage Statement Information form sent from Citi on January 22, 2014.

At the bottom of the first page, set off from the rest of the text, there is a disclaimer in bold, capital

letters that states: “THIS AMOUNT DUE IS FOR INFORMATIONAL PURPOSES ONLY AND

DOES NOT REFLECT FEES AND COSTS . . . .” The account statement provides information

to facilitate the retention of Plaintiff’s home, should he seek to pay the amount due and reinstate

the loan to retain the Property before foreclosure. The statement does not demand payment from

Plaintiff personally. It also includes bold, unambiguous language so that a reasonable consumer

bankrupt would not construe the communication as a demand for payment. The Court finds that

the statement does not violate the discharge injunction.4

        Exhibit N is an annual escrow analysis sent by Citi dated September 19, 2016. It provides

information based on insurance and property tax estimates as Plaintiff continued to live in the

Property. This information would be helpful if Plaintiff intended to keep the secured property.



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  Plaintiff attaches additional mortgage statements to his response to Defendant Citi’s motion for summary judgment.
All of the additional mortgage statements contain prominent disclaimer language like that contained in Exhibit M so
that a reasonable consumer bankrupt would not construe the communications as a demand for payment.

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The document includes an Escrow Shortage/Advance Coupon. The statement does not have

prominent and unambiguous disclaimer language. In fact, the communication does not mention

bankruptcy at all. Instead, the document concludes with the statement: “This is an attempt to

collect a debt and any information obtained will be used for that purpose.” The Court finds that a

reasonable consumer bankrupt could construe the communication as a demand for payment.

       Exhibit O is another annual escrow analysis from Citi that provides information based on

insurance and property tax estimates. The communication includes an Escrow Shortage/Advance

Coupon for Plaintiff to detach and return along with payment. It does not, however, contain

prominent and unambiguous bankruptcy disclaimer information, and it also states that the

communication constitutes an attempt to collect a debt. Given that the lack of disclaimer language,

the Court finds that a reasonable consumer debtor could construe the communication as a demand

for payment.

       Exhibit P is a communication regarding Annual Disclosure Notices from Citi dated March

17, 2015. The opening sentence of the letter states: “We are writing to provide you with two (2)

required annual disclosure Notices regarding your FHA loan and no response is required.” The

notice provides information required by governing FHA regulations. Indeed, the Code of Federal

Regulations, 24 C.F.R. § 203.558(c), requires that the mortgagees on FHA-insured mortgages

provide annual written notice regarding the amount outstanding for prepayment of a mortgage.

The notice lists a total payoff amount, but it does not request payment in any form. It is

informational in tone and includes details about the total amount due on the loan should Plaintiff

want to pay it. Given that the document is informational in nature and does not coerce Plaintiff in

paying any debt personally, the Court finds that the communication does not violate the discharge

injunction.



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       Exhibit Q is a communication regarding Annual Disclosure Notices from Citi dated

February 16, 2016, and Exhibit R is another communication regarding Annual Disclosure Notices

from Citi dated February 1, 2017. Like Exhibit P, these annual disclosure notices merely provide

Plaintiff with information required by governing law. They do not seek to collect a debt from

Plaintiff personally, and the Court finds that they do not violate the discharge injunction.

       Exhibit S is a 2010 Annual Tax and Interest Statement (1099-A) from Citi. This statement,

sent in accordance with federal law, shows the principal balance on the loan at the time of

foreclosure and that Plaintiff was personally liable to repay the indebtedness “when the debt was

created.” Plaintiff obtained the loan in 2002, prior to filing bankruptcy, and he was responsible

for the debt when it was created. The information on the tax statement is correct, and it does not

indicate that Plaintiff was personally liable for the debt in 2010. The Court finds that the document

is informational and does not seek to collect a debt from Plaintiff personally. As such, it does not

violate the discharge injunction.

       Exhibit T is an updated 2010 Annual Tax and Interest Statement (1099-A) from Citi. The

communication states, “Enclosed is your updated prior year tax Information. Please retain for your

records.” The information was sent in accordance with federal law. It states the principal balance

on the loan at the time of foreclosure and that Plaintiff was personally liable to repay the

indebtedness “when the debt was created.” It notes that the outstanding principal balance on the

loan was $0. The Court finds that the document is informational, it does not seek to collect a debt

from Plaintiff personally, and it does not violate the discharge injunction.

       Exhibit U is an email from Ashby Kent, dated September 9, 2010, regarding Plaintiff’s

proposal to purchase the Property. It indicates that Plaintiff had made a proposal to purchase the

Property and that Citi was then in the process of evaluating Plaintiff’s offer. It does not include a



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demand for payment from Plaintiff. Rather, it refers to a settlement offer from Plaintiff. The

communication, sent in response to communications initiated by Plaintiff, does not violate the

discharge injunction.

        Exhibit V is a letter from Edward Medlin also regarding Plaintiff’s proposal to purchase

the Property. It states, “The purpose of this letter is to affirm that, pursuant to your request, I

contacted [Citi] by telephone on three separate occasions for the purpose of conveying to them

your proposal to pay them the current fair market value of your property . . . .” The letter relates

to a settlement offer by Plaintiff; it does not demand payment from Plaintiff. As such, it does not

violate the discharge injunction.

        While the Court concludes that most of the documents sent to Plaintiff do not seek to collect

a debt personally from him, the Court must also consider the collective effect of the documents.

The correspondence to Plaintiff was sent over a period of seven years. During that period,

Defendants did not make any telephone calls to Plaintiff. Many of the documents sent to Plaintiff

provide information to facilitate retention of Plaintiff’s home and payoff if made and provide

information relating to the creditor’s in rem rights. Others were sent to comply with federal law,

and still others respond to the Plaintiff’s requests for information. Plaintiff may have been

distressed by receiving correspondence from Defendants, but the Court finds that the body of

correspondence from Plaintiff did not constitute an attempt to collect a debt personally from

Plaintiff.

        The Court concludes that, with the exception of the escrow statements sent to Plaintiff

lacking clear disclaimers, a reasonable consumer debtor would not construe the communications

sent to Plaintiff as a demand for payment.




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   V.      Conclusion

        For the reasons stated above, the Court concludes that Defendant Citi violated section 524

by sending Plaintiff escrow statements that a reasonable consumer debtor could construe as a

demand for payment. Defendants did not violate the discharge injunction by sending Plaintiff

other items of correspondence after he received his bankruptcy discharge. Accordingly,

        IT IS ORDERED that Defendant Citi’s Motion is GRANTED IN PART. The Court will

consider the issue of damages separately.

        IT IS FURTHER ORDERED that Defendant the Phelan firm’s Motion is GRANTED.

        The Clerk’s Office is directed to serve a copy of this order on Plaintiff, Defendants, and

Defendants’ counsel.

                                    END OF DOCUMENT




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